Case 2:OO-cV-02608-STA-tmp Document 344 Filed 06/03/05 Page 1 of 4 Page|D 318

  

.'.' '

Fli.E'D B`z’ _ D.C.

IN THE UNITED STATES DISTRICT CoURmS Juz»s »~6 AH 6= h9
FoR THE WESTERN DISTRICT oF TENNESSEE _ _,
WESTERN DIVISIoN Fé°§§§§?§’ §§;=,~».Df;>¢'@l§~?’€l?
W.o. ole m :-i»:r_z:i'l_e:--ue

 

 

)
MAR]LYN JOHNSON, et al., )
)
Plaintiffs, ) Case Nos: 00-2608 D P '/
) 04-2017 D P
)
vs. )
)
CITY OF MEMPHIS, )
)
Defendant. )
)
FLORENCE BILLINGSLEY, et al., )
)
Plaintiffs, )
)
vs. ) Case No.: 014-2013 D A
)
CITY OF MEMPI-IIS, )
)
Defendant. )

 

ORDER ON TRIAL SCHEDULE

 

The above captioned matter consolidated for trial purposes, Will be tried pursuant to the
following Schedule:

DATE TIME

 

Monday, July ]l, 2005 9:00 a.m. - 12:30 p.m.
2200 p.m. - 5:30 p.m.

Tuesday, July 12, 2005 9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:30 p.m.

9;00 a.m. - 12:30 p.m. 3 L/(/

Wednesday, July 13, 20025

This document entered on the docket s
w|th F\ule 58 and!or 79(a) FRCP on

  
 

Case 2:OO-cV-02608-STA-tmp Document 344 Filed 06/03/05 Page 2 of 4 Page|D 319

Wednesday, July 13, 20025

Thursday, July 14, 2005

Monday, J'u]y 18, 2005

Tuesday, July 19, 2005

Wednesday, July 20, 2005

9:00 a.m. - ]2:30 p.m.
2:00 p.rn. - 5:30 p.m.

9:00 a.m. - 1:00 p.m.

9:00 a.m. - 12:30 p.m,
2:00 p.m. - 5:30 p.m.

9:00 a.rn. - 12:45 p.m.
2:]5 p.m. - 5:30 p.m.

8:45 a.m. - 12:00 noon

The balance of the trial schedule Will be determined at a later date.

IT IS SO ORDERED this gid. day of , 2005.

 
  

B RNICE BOUIE DONALD
UNITED STATES DISTRICT .TUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 344 in
case 2:00-CV-02608 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

EssEE

 

Ricky E. Wilkins

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/1emphis7 TN 38103

Keith R. Thomas

FORD & HARRISON, LLP- Ridge Lake Blvd.

795 Ridge Lake Blvd.
Ste. 300
1\/1emphis7 TN 38120

David 1\/1. Sullivan

LAW OFFICES OF DAV]D M. SULLIVAN
3251 Poplar Ave.

Ste. 130

1\/1emphis7 TN 38111

Delaine R. Smith

FORD & HARRISON, LLP- Ridge Lake Blvd.

795 Ridge Lake Blvd.
Ste. 300
1\/1emphis7 TN 38120

Earle J. SchWarZ
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Sara L. Hall

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 3 14

1\/1emphis7 TN 38103

Case 2:OO-cV-02608-STA-tmp Document 344 Filed 06/03/05 Page 4 of 4 Page|D 321

Louis P. Britt

FORD & HARRISON, LLP- Ridge Lake Blvd.
795 Ridge Lake Blvd.

Ste. 300

1\/1emphis7 TN 38120

Honorable Bernice Donald
US DISTRICT COURT

